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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DISTRICT

SHELLY L. MILTON,

            Plaintiff,                    Case No. 16-cv-14033

vs.                                       Hon. Paul D. Borman

WAYNE COUNTYand ROBERT
DUNLAP,

          Defendants.
_______________________________/


BOYLAN LAW, P.C.                          WAYNE COUNTY CORP. COUNSEL
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                                                                       /

                         DEFENDANTS’ WITNESS LIST
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      Defendants Wayne County and Robert Dunlap, by their attorneys, Allen

Brothers, Attorneys & Counselors, PLLC, submit the following list of witnesses

that may be called at trial:

      1.     Plaintiff and Wayne County Sheriff’s Office Corporal Shelly L.
             Milton, c/o counsel – 410 W. University Dr., Suite 201, Rochester,
             MI;

      2.     Defendant and Wayne County Sheriff’s Office Chief Robert Dunlap,
             c/o Defense Counsel, 400 Monroe St., Suite 600, Detroit, MI;

      3.     Wayne County Sheriff’s Office Deputy Chief Raphael Washington,
             c/o Defense Counsel, 400 Monroe St., Suite 600, Detroit, MI;

      4.     Wayne County Sheriff’s Officer Chief of Staff Michael Turner, c/o
             Defense Counsel, 400 Monroe St., Suite 600, Detroit, MI;

      5.     Avery Williams, 535 Griswold Street, Suite 1000, Detroit, Michigan;

      6.     Wayne County Sheriff’s Office Commander David Praedel, 1231 St.
             Antoine St., Detroit, MI 48226;

      7.     Wayne County Sheriff’s Office Deputy and Wayne County Deputy
             Sheriff Association Vice President Jeremy Cady, 27056 Joy Road,
             Redford, MI 48239;

      8.     Wayne County Sheriff’s Office Deputy and Wayne County Deputy
             Sheriff Association President Brian Earl, 1231 St. Antoine St.,
             Detroit, MI 48226;

      9.     Wayne County Sheriff’s Office Captain Reid Chakrabarty, 1231 St.
             Antoine St., Detroit, MI 48226;

      10.    Wayne County Sheriff’s Office Corporal Eric Catner,        1231 St.
             Antoine St., Detroit, MI 48226;

      11.    Wayne County Sheriff’s Office Corporal Leonard Skalba, 1231 St.
             Antoine St., Detroit, MI 48226;
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     12.   Wayne County Sheriff’s Office Corporal Angela Reed, 1231 St.
           Antoine St., Detroit, MI 48226;

     13.   Wayne County Sheriff’s Office Corporal Carlos Banks, 1231 St.
           Antoine St., Detroit, MI 48226;

     14.   Wayne County Sheriff’s Office Corporal Charles Smith, 1231 St.
           Antoine St., Detroit, MI 48226;

     15.   Wayne County Sheriff’s Office Corporal Corey Grant, 1231 St.
           Antoine St., Detroit, MI 48226;

     16.   Wayne County Sheriff’s Office Deputy Lacey L. Polderdyke, 1231
           St. Antoine St., Detroit, MI 48226;

     17.   Wayne County Sheriff’s Office Deputy Chief Scott Gatti; 1231 St.
           Antoine St., Detroit, MI 48226;

     18.   Wayne County Sheriff’s Office Deputy Chief Michael Jaafer, 1231
           St. Antoine St., Detroit, MI 48226;

     19.   Wayne County Sheriff’s Office Deputy and Union Steward John
           Fuller, 1231 St. Antoine St., Detroit, MI 48226;

     20.   Wayne County Sheriff’s Office Senior Personnel Officer Evelia
           Sauceda; 1231 St. Antoine St., Detroit, MI 48226;

     21.   Wayne County Sheriff’s Office Under Sheriff Daniel Pfannes, 1231
           St. Antoine St., Detroit, MI 48226;

     22.   Wayne County Sheriff Benny N. Napoleon, 1231 St. Antoine St.,
           Detroit, MI 48226;

     23.   Wayne County Sheriff’s Office Senior Personnel Officer John
           Asquini, 1231 St. Antoine St., Detroit, MI 48226;

     24.   Wayne County Sheriff’s Office Sergeant Lee Smith, 1231 St. Antoine
           St., Detroit, MI 48226;
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     25.    All of Plaintiff’s treating health care providers;

     26.    All lay and expert witnesses endorsed by Plaintiff in her Rule 26(a)
            Initial Disclosures and all subsequent Lay and Expert Witness Lists;

     27.    All lay persons and experts necessary as rebuttal witnesses;

     28.    Any and all witnesses disclosed during the discovery process,
            including but not limited to, witnesses disclosed via written discovery
            and/or at the time of trial.

                              Reservation of Right

       Defendants reserve their right to amend their witness list upon completion

 of discovery and in accordance with the Court’s Scheduling Order.

                                              ALLEN BROTHERS,
                                              Attorneys & Counselors, PLLC

                                              /s/Charles S. Rudy
                                              Charles S. Rudy (P27881)
                                              Lindsey R. Johnson (P67081)
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Dated: May 18, 2018                           ljohnson@allenbrotherspllc.com




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                          CERTIFICATE OF SERVICE

  I hereby certify that, on May 18, 2018, I electronically filed the foregoing paper
  with the Clerk of the Court using the ECF system which will send notification of
  such filing and copy of the foregoing paper upon attorney of record.
  Karie H. Boylan - karie@boylanlaw.net


                                               /s/Tara Kendrick
                                               Tara Kendrick
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